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 4   Attorney for Defendant
     JARMAL DUPLESSIS
 5
 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. Cr. S-09-0422 WBS
11                                 Plaintiff,            STIPULATION AND ORDER TO
                                                         CONTINUE STATUS CONFERENCE
12          vs.
                                                         Date: March 29, 2010
13   JARMAL DUPLESSIS, et al.,                           Time: 8:30 a.m.
                                                         Judge: Hon. William B. Shubb
14                                 Defendants.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jean Hobler, Assistant United States Attorney, attorney for plaintiff,
18   Michael E. Hansen, attorney for defendant Jarmal Duplessis, Caro Marks, attorney for
19   defendant Nakesha Sharrieff, and Erin Radekin, attorney for defendant Thomas Keys, Jr.., that
20   the previously scheduled status conference date of March 29, 2010, be vacated and the matter
21   set for status conference on May 3, 2010, at 8:30 a.m.
22           This continuance is requested to allow defense counsel to continue their review of the
23   1,700 pages of discovery received to date, and to allow all parties to discuss possible settlement
24   of the case.
25           Accordingly, all counsel and the defendants agree that time under the Speedy Trial Act
26   from the date this stipulation is lodged, through May 3, 2010, should be excluded in computing
27   / / / / /
28   / / / / /


                                                     1
     Stipulation and Order to Continue Status Conference
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 1   time within which trial must commence under the Speedy Trial Act, pursuant to Title 18
 2   U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4.
 3   Dated: March 24, 2010                             Respectfully submitted,
 4
                                                       /s/ Michael E. Hansen
 5                                                     MICHAEL E. HANSEN
                                                       Attorney for Defendant
 6                                                     JARMAL DUPLESSIS
 7
     Dated: March 24, 2010                             /s/ Caro Marks
 8                                                     CARO MARKS
                                                       Assistant Federal Defender
 9                                                     Attorney for Defendant
                                                       NAKESHA SHARRIEFF
10
11   Dated: March 24, 2010                             /s/ Erin Radekin
                                                       ERIN RADEKIN
12                                                     Attorney for Defendant
                                                       THOMAS KEYS, JR.
13
14   Dated: March 24, 2010                             /s/ Jean Hobler
                                                       JEAN HOBLER
15                                                     Assistant U.S. Attorney
                                                       Attorney for Plaintiff
16
17
18                                            ORDER
19          IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.
20   §§ 3161(H)(7)(A) and (B)(iv), and Local Code T4.          The previously scheduled status
21   conference date of March 29, 2010 is vacated and the matter set for status conference on May
22   3, 2010, at 8:30 a.m.
23
24   Dated: March 25, 2010
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26
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     Stipulation and Order to Continue Status Conference
